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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

THE TRUSTEES OF PRINCETON

UNIVERSITY,
Plaintiff, |
‘Civil Action No.
Vv. ' 3:19-cv-21248-BRM-LHG
TOD WILLIAMS BILLIE TSIEN ! Motion Return Date:
ARCHITECTS, LLP; JACOBS : July 6, 2020

ARCHITECTS/ENGINEERS, INC.;
and JACOBS CONSULTANCY INC.,

Defendants. |

 

TOD WILLIAMS BILLIE TSIEN
ARCHITECTS, LLP,

Defendant /
Third-Party Plaintiff, :

Vv.

ARUP, USA, INC., THE
BALLINGER COMPANY, SEVERUD
ASSOCIATES CONSULTING
ENGINEERS, P.C., FISHER
MARANTZ STONE, FRANK HUBACH
ASSOCIATES, INC., F.d. SCIAME }
CONSTRUCTION COMPANY, INC., |
JOHN DOES 1-10 and ABC ;
CORPORATIONS 1-10,

Third-Party Defendants. !

 

CERTIFICATION OF SERVICE

I hereby certify that on Junell; 2020, a true and correct
copy of Defendant Tod Williams Billie Tsien Architects, LLP’s

Notice of Motion for Leave to File an Amended Third-Party
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Complaint, and an Answer to Cross-Complaint with Third-party
complaint, and an Answer to Counterclaim with a Third-Party
Complaint, Brief in Support thereof (with exhibits),
Certification of Counsel (with exhibits), and Proposed Order
was filed with the Court’s CM/ECF filing system and thereby

served on the following counsel of record for this matter:

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Dated:

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NJ 08002

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“John . ki ly , a
